                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiff,                             )
                                               )
 v.                                            )   NO. 3:25-cr-00115
                                               )
 KILMAR ARMANDO ABREGO                         )
 GARCIA,                                       )
                                               )
        Defendant.                             )


                                          ORDER

       Defendant shall respond to the Government’s Motion for Appeal and Revocation of

Release Order (Doc. No. 45) and Motion to Stay Release Order (Doc. No. 46) by 4:30 p.m.,

June 23, 2025.

       IT IS SO ORDERED.


                                           _____________________________________
                                           WAVERLY D. CRENSHAW, JR
                                           UNITED STATES DISTRICT JUDGE




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